
Whitmyer, J.
(dissenting). Acting as plaintiff’s agent, defendant effected fire insurance for plaintiff in two British companies, *418not admitted here and without property here, without disclosing those facts to plaintiff, and plaintiff did not have knowledge thereof. That was a breach of duty on defendant’s part and was actionable. (Ins. Law, §§ 49, 50; Penal Law, § 1199; Burges v. Jackson, 18 App. Div. 296; affd., 162 N. Y. 632; Shepard v. Davis, 42 App. Div. 462, 469; Landusky v. Beirne, 80 id. 272, 274; affd., 178 N. Y. 551.)
Next, defendant acted for plaintiff in the collection of the loss and, while so acting, secretly instigated an investigation of the circumstances surrounding the fire and gave to the companies the report thereon. The result was that the companies at first declined liability, but finally paid the loss without trial of the suit, which plaintiff had been compelled to bring. Defendant’s acts constituted a breach of the obligations of loyalty and fidelity which it owed to plaintiff. (Salzano v. Marine Insurance Co., Ltd., 173 App. Div. 275, 282; Lamb v. Cheney &amp; Son, 227 N. Y. 418, 422; Gonzales v. Kentucky Derby Co., 197 App. Div. 277, 281; Campbell v. Gates, 236 N. Y. 457, 460.) They were an interference with plaintiff’s contractual rights, with knowledge and without justification, and were malicious. (Lamb v. Cheney &amp; Son, supra, 422.)
The cost of similar litigation here is not an element for consideration. It does not appear that suit would have been necessary, if the insurance had been placed in companies admitted here or with property here.
There is evidence to sustain the decision and the judgment should be affirmed.
Judgment reversed on the law and facts, and new trial granted, with costs to the appellant to abide the event.
Findings of fact numbered seventh, eighth and eleventh are reversed.
